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MINUTE ENTRY
AFRICK, J.
December 14, 2020
JS-10 00:15

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                              CIVIL ACTION

VERSUS                                                                   No. 12-859

MARLIN GUSMAN, ET AL.                                                    SECTION I


                                       ORDER

      On this date the Court and U.S. Magistrate Judge Michael North held a status

conference via Zoom with counsel for all parties participating, except James Williams

(“Williams”), counsel for defendant Sheriff Marlin Gusman (“Sheriff”).

      Pursuant to the directive of the Sheriff, the employment of the Compliance

Director was terminated on November 27, 2020. The Court also advised the parties

that, should the Sheriff decide to retain the former Compliance Director as a

consultant, that is a decision to be made by the Sheriff.

      The Court asked counsel for the City, Sunni LeBeouf (“LeBeouf”), for

confirmation that work is ongoing on the proposed construction of the Phase III

facility. LeBeouf responded that she would defer to the City’s director of capital

projects, Ramsey Green (“Green”), who was not present at the conference. LeBeouf

will communicate with Green and file a letter with the Court no later than December

21, 2020 outlining the progress that has been made since June 2020 as to Phase III.

      Considering the discussion at the conference,
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      IT IS ORDERED that LeBeouf confer with Green, and any other persons

necessary, and file with the Court, no later than MONDAY, DECEMBER 21, 2020

at 5:00 P.M., a letter confirming that work is ongoing on the proposed Phase III

facility and detailing the extent of any progress.

      New Orleans, Louisiana, December 14, 2020.



                                        _______________________________________
                                                  LANCE M. AFRICK
                                         UNITED STATES DISTRICT JUDGE




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